     Case 6:20-cv-00578-ADA Document 36 Filed 02/26/21 Page 1 of 12




                IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                           WACO DIVISION

WSOU INVESTMENTS, LLC D/B/A       §    CIVIL ACTION 6:20-cv-00571-ADA
BRAZOS LICENSING AND              §    CIVIL ACTION 6:20-cv-00578-ADA
DEVELOPMENT,                      §    CIVIL ACTION 6:20-cv-00583-ADA
          Plaintiff,              §    CIVIL ACTION 6:20-cv-00584-ADA
                                  §
v.                                §
                                  §
GOOGLE LLC,                       §
         Defendant.               §



           PLAINTIFF’S REPLY CLAIM CONSTRUCTION BRIEF
               Case 6:20-cv-00578-ADA Document 36 Filed 02/26/21 Page 2 of 12




                                                      TABLE OF CONTENTS

Table of Contents ............................................................................................................................ ii

Table of Authorities ....................................................................................................................... iii

Exhibits .......................................................................................................................................... iv

Abbreviations ...................................................................................................................................v

I.         U.S. PATENT NO. 7,777,728 (Case No. 6:20-cv-00583-ADA) ........................................1

          A.           “tap direction” (Claims 1, 11, 16) ............................................................................1

II.        U.S. PATENT NO. 9,335,825 (Case No. 6:20-cv-00578-ADA) ........................................3

          A.           “continuous wave doppler radar” (Claims 1 and 19) ...............................................3

          B.           “at least one memory and the computer program code are configured,
                       with the at least one processor, to cause the apparatus to at least: detect
                       that an application is being started on the apparatus; in response to the
                       application being started on the apparatus, turn on a continuous wave
                       doppler radar at the apparatus” (Claim 1) ................................................................5




                                                                         ii
            Case 6:20-cv-00578-ADA Document 36 Filed 02/26/21 Page 3 of 12




                                              TABLE OF AUTHORITIES

Cases

Dyfan, LLC v. Target Corp.,
  No. 6:20-cv-00580-ADA, Dkt. 34 (W.D. Tex. Nov. 24, 2020) ................................................. 5

International Visual Corp. v. Crown Metal Mfg. Co., Inc.,
   991 F.2d 768 (Fed. Cir. 1993) .................................................................................................... 3

LG Electronics, Inc. v. Bizcom Electronics, Inc.,
  453 F.3d 1364 (Fed. Cir. 2006) .................................................................................................. 5

Phillips v. AWH Corp.,
  415 F.3d 1303 (Fed. Cir. 2005) .............................................................................................. 2, 4

Samsung Elecs. Am., Inc. v. Prisua Eng'g Corp.,
  948 F.3d 1342 (Fed. Cir. 2020) .................................................................................................. 5

Scripps Clinic & Research Found. v. Genentech, Inc.,
   927 F.2d 1565 (Fed.Cir.1991) .................................................................................................... 3

SRI Int'l v. Matsushita Elec. Corp. of Am.,
  775 F.2d 1107 (Fed.Cir.1985) .................................................................................................... 3

Thorner v. Sony Computer Entm't Am. LLC,
  669 F.3d 1362 (Fed. Cir. 2012) .............................................................................................. 1, 2

Zeroclick, LLC v. Apple Inc.,
  891 F.3d 1003 (Fed. Cir. 2018) .............................................................................................. 5, 6




                                                                  iii
      Case 6:20-cv-00578-ADA Document 36 Filed 02/26/21 Page 4 of 12




                                     EXHIBITS

Exhibit Description

  A     Wikipedia, Continuous Wave Radar,
        https://web.archive.org/web/20120418124039/http://en.wikipedia.org:80/wiki/Continuous-
        wave_radar (archived Apr. 18, 2012)

  B     Federation of American Scientists, ES310: Introduction to Naval Weapons Engineering
        Course Syllabus, Lesson 10: Continuous Wave Radar,
        https://web.archive.org/web/20091227095356/https://fas.org/man/dod-
        101/navy/docs/es310/cwradar/cwradar.htm (archived Dec. 27, 2009)




                                          iv
  Case 6:20-cv-00578-ADA Document 36 Filed 02/26/21 Page 5 of 12




                           ABBREVIATIONS

Abbreviation    Description

    Br.         Plaintiff’s Opening Claim Construction Brief

  POSITA        person of ordinary skill in the art

   Resp.        Google’s Responsive Claim Construction Brief

 ’728 patent    U.S. Pat. No. 7,777,728

 ‘825 patent    U.S. Pat. No. 9,335,825




                                      v
         Case 6:20-cv-00578-ADA Document 36 Filed 02/26/21 Page 6 of 12




I.     U.S. PATENT NO. 7,777,728 (CASE NO. 6:20-CV-00583-ADA)

       A.      “tap direction” (Claims 1, 11, 16)

       WSOU’s Proposed Construction                        Google’s Proposed Construction
 Plain and ordinary meaning                         tap direction that extends between the first tap
                                                    position and a second tap position

       Before addressing Google’s erroneous arguments in the numbered paragraphs below,

WSOU notes that Google fails to allege either of the recognized exceptions to plain and ordinary

meaning—lexicography or disavowal. Thorner v. Sony Computer Entm't Am. LLC, 669 F.3d 1362,

1365 (Fed. Cir. 2012). Accordingly, the plain and ordinary meaning of “tap direction” should stand

and no construction is needed.

       First, as a threshold matter, Google is wrong to invoke O2 Micro and claim that “reliance

on a term’s ‘ordinary’ meaning does not resolve the parties’ dispute.” Resp. at 1 (quoting O2 Micro

Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1361 (Fed. Cir. 2008)). Google’s

construction of “tap direction” includes the very same term in its proposed construction. By force

of logic, Google tacitly concedes that the term “tap direction” has a plain and ordinary meaning by

using that very same term verbatim in its proposed construction.

       Second, with respect to the claims, Google errs by asserting that “WSOU’s construction

would . . . read the word ‘tap’ out of the claim[s].” Resp. at 2. Google ignores the surrounding

claim language. Claim 1 recites “a tap direction that extends between the first position and a second

position.” Both “first position” and “second position” are expressly referenced in claim 1, i.e.,

“detecting the touch of a first key on the touch sensitive display at a first position” and a “second

position is the position of a previously detected touch of a second key of the touch sensitive

display.” Independent claim 11 recites similar language. The claims lack the limitation that Google

attempts to impose—i.e., that “‘tap’ mean[s] a press-down followed by a lift-up in the same

location.” Resp. at 3. Rather, as evident by the claim language itself, the “tap direction” is dependent

on the detected “touch[es]” of the touch sensitive display. WSOU’s construction thus does not read

the word “tap” out of the claims as Google contends.

                                                  1
         Case 6:20-cv-00578-ADA Document 36 Filed 02/26/21 Page 7 of 12




       Third, Google erroneously reads the specification as “confirm[ing] that the patentee

understood ‘tapping’ to mean tapping, that is, a press-down followed by a lift-up in the same

location.” Resp. at 2. To support its erroneous reading, Google claims that the specification

reference to “pointing/tapping/dragging with a pointer” confirms that “pointing,” tapping,” and

“dragging” are (using Google’s own words) “different actions.” See id. Google ignores the proper

reading that all three terms are not mutually exclusive alternatives, but rather interrelated terms that

can overlap. For instance, a user may “point” to something and that may also be understood to be a

“tap.” “Dragging” is also interrelated to “tapping” and “pointing.” A “dragging” operation first
starts with a “point” or a “tap,” and then the cursor is slid over the touch screen. Based on this

proper understanding of the word “tap direction” in the claims, the Applicant did not give up the

“pointing” and “dragging” operations as Google claims. Resp. at 2.

       Fourth, Google also wrongly relies on the specification’s description where the user “lifts

and moves the stylus along a path 162, and presses down the stylus at a new position 163.” Resp.

at 3 (quoting ’728 patent at 7:12-17). But Google fails to note the language it quotes originates from

a paragraph qualifying that the description is merely “[t]o illustrate the method” and also as “an

example.” ’728 patent at 7:10-11. Thus, Google commits the “cardinal sin” of importing limitations

from the specification. See Phillips v. AWH Corp., 415 F.3d 1303, 1319-20 (Fed. Cir. 2005) (en

banc). Nor was this a “clear and unequivocal disavowal” of the concepts of “pointing” and

“dragging” described in the specification. Thorner, 669 F.3d at 1366. 1

       Fifth, Google’s reliance on a purported commercial embodiment of the ’728 patent is flawed

both factually and legally. On the facts, Google provides no evidence that links the purported

commercial embodiment (the Nokia N770) with the ’728 patent. See Resp. at 3. The ’728 patent

lacks any reference to the Nokia N770 product, and there is not even any recognition in the patent

that a commercial embodiment existed. Google’s only basis is to compare figures of the ’728 patent

1
  The term “pointing/tapping/dragging” is described as part of the “embodiments of the present
invention.” See id. at 4:54-55 (referring to “pointing/tapping/dragging” as being illustrated in FIG.
1); id. at 3:54-61 (describing FIG. 1 generally as “[e]mbodiments of the present invention” and
specifically as a view of “one embodiment”).
                                                  2
           Case 6:20-cv-00578-ADA Document 36 Filed 02/26/21 Page 8 of 12




and purported depictions of the Nokia N770 product. See id. (citing Ex. 2 and Ex. 1). Based on this

comparison (unsupported by any testimony), Google concludes that the ’728 patent “depicts” the

Nokia N770 device. Google also lacks any evidence for its statement that “Nokia released [the N770

device] shortly before” it filed the application” for the ’728 patent. See id. Google’s attempt to link

purported commercial embodiment to the patent fails to acknowledge the possibility that Nokia

may have directed its patent to subject matter that was never commercialized or even made public.

Even if Google could establish that the Nokia N770 is a commercial embodiment of the ’728 patent

(for instance, if the specification expressly stated so or if Google provided actual evidence), it would
be improper to consider the commercial embodiment when construing the claim term. International

Visual Corp. v. Crown Metal Mfg. Co., Inc., 991 F.2d 768, 772 (Fed. Cir. 1993) (reversing summary

judgment of no literal infringement for error in claim construction where district erroneously relied

upon patentee’s commercial embodiment to construe claim limitation). 2

II.      U.S. PATENT NO. 9,335,825 (CASE NO. 6:20-CV-00578-ADA)

         A.     “continuous wave doppler radar” (Claims 1 and 19)

         WSOU’s Proposed Construction                      Google’s Proposed Construction
    Plain and ordinary meaning                      a Doppler radar that emits an uninterrupted
                                                    electromagnetic signal

         By using the term “Doppler radar” in its construction, Google does not dispute that the term

“doppler radar” has a plain and ordinary meaning. See Br. at 6; see also Resp. at 4. Nor does Google

dispute that the term “continuous wave” would have a plain and ordinary meaning to a POSITA.

See Resp. at 4-5. And the parties also agree that the patent discloses two types of doppler radar



2
  Google also errs by construing the claims in light of the accused device. Google asks the Court
to consider WSOU’s accusations against Google’s glide typing in the accused instrumentalities.
See Resp. at 2. But “[a] claim is construed in the light of the claim language ... not in light of the
accused device.” SRI Int'l v. Matsushita Elec. Corp. of Am., 775 F.2d 1107, 1118 (Fed.Cir.1985)
(en banc). Th only exception to the SRI is when that accused products can be considered to “focus
on the construction of only the disputed elements or limitations of the claims.” Scripps Clinic &
Research Found. v. Genentech, Inc., 927 F.2d 1565, 1580 (Fed.Cir.1991). Here, this exception
does not apply as the parties have already identified the term “tap direction” as being in dispute.
                                                  3
         Case 6:20-cv-00578-ADA Document 36 Filed 02/26/21 Page 9 of 12




detectors (continuous wave and pulsed) but that the claims only recite “continuous wave.” See Br.

at 6; Resp. at 4-5. The only dispute is whether Google should be allowed to replace the claim

language “continuous wave” with “emit[ing] an uninterrupted electromagnetic signal.”

       Google, however, provides no evidence that a POSITA would understand “continuous

wave” to be the same as “emit[ing] an uninterrupted electromagnetic signal.” As WSOU noted,

both the specification and claims lack any reference to the word “uninterrupted” or “interrupted”

(or any form of those words). Br. at 6. The only evidence Google cites to support that the word

“continuous” means “uninterrupted” is a general-purpose dictionary. Resp. at 4 (citing Ex. 4). But
there is no indication in Google’s general-purpose dictionary that the definition was intended to

apply to the context of radar waves or even the broader concept of electronic magnetic waves.

Rather, the dictionary definition itself has a “[u]sage” note which refers to its common lay

understanding. Ex. 4 at 125 (“The coast is continually pounded by storms. The external flame burns

continuously.”). Google’s “heavy reliance on the dictionary divorced from the intrinsic evidence

risks transforming the meaning of the claim term to the artisan into the meaning of the term in the

abstract, out of its particular context, which is the specification.” See Phillips, 415 F.3d at 1321.

Google inability to cite any technical treatises or technical dictionaries to support its “uninterrupted”

position is indicative that it could find no such support in the technical literature.

       Google’s grafting of the word “uninterrupted” from a general dictionary into the

construction creates a problem relating to clarity. As noted, if the Court were to adopt Google’s

construction, it could be misapplied to carve out one particular type of “continuous wave” doppler

radar that is described in the specification—namely, the “Frequency Modulated Continuous Wave”

(FMCW) where the “time signature” may have a “period variation in frequency.” Id. at 4:33-36

(“The time signature may, for example, be … a periodic variation in frequency (Frequency

Modulated Continuous wave).”). Because Google has pointed to no evidence that a POSITA would

even understand “uninterrupted” in the context of “continuous wave,” it might be misapplied as

suggesting that frequency modulation as “interrupts” an emitted signal, thus carving out FMCW

from the broader category of “continuous wave doppler radar.”
                                                   4
          Case 6:20-cv-00578-ADA Document 36 Filed 02/26/21 Page 10 of 12




         B.     “at least one memory and the computer program code are configured, with
                the at least one processor, to cause the apparatus to at least: detect that an
                application is being started on the apparatus; in response to the application
                being started on the apparatus, turn on a continuous wave doppler radar at
                the apparatus” (Claim 1)
         Google’s approach effectively treats “processor,” “memory,” and “computer program code”

as nonce words, which can operate as substitutes for “means” and bring the disputed claim

limitations within the ambit of § 112, ¶ 6. On analogous claims to the ones here, the Federal Circuit

found such an approach “erroneous” for three related reasons. See Zeroclick, LLC v. Apple Inc., 891

F.3d 1003, 1008 (Fed. Cir. 2018). 3

         First, Google argues that claim 1 does not “convey any meaningful structure.” Resp. at 7;

see also id. (referring to “detailed functional tasks recited in the body of the claim”). But “the mere

fact that the disputed limitations incorporate functional language does not automatically convert the

words into means for performing such functions.” See Zeroclick, 891 F.3d at 1008; see also LG

Electronics, Inc. v. Bizcom Electronics, Inc., 453 F.3d 1364, 1372 (Fed. Cir. 2006) (the presumption

was not overcome because the “claim itself provides sufficient structure, namely ‘a CPU and a

partitioned memory system,’ for performing the stated function, ‘controlling the communication

unit.’”). 4
         Second, Google cherry picks portions of the specification to portray the processor, memory,

and computer program code as “black-box placeholders.” Resp. at 7. As an initial matter, Google

completely ignores portions of specification that describe conventional structure. The specification

describes “processor 20 may . . . comprise an output interface via which data and/or commands are

output by the processor 20 and an input interface via which data and/or commands are input to the

3
  In Zeroclick, the Federal Circuit found A claim not subject to § 112, ¶ 6 that recited “A device
…. comprising a processor …. executable user interface code stored in a memory connected to the
processor … [and] the user interface code executable by the processor.” Id. at 1006. The analogous
structure of the claims here makes Zeroclick a better guide than Dyfan, LLC v. Target Corp., No.
6:20-cv-00580-ADA, Dkt. 34 (W.D. Tex. Nov. 24, 2020).
4
  Google wrongly suggests that the Court should not rely on the LG case because it is “pre-
Williamson.” Resp. at 7-8. The Federal Circuit, however, has expressly relied on the same
proposition cited by WSOU in post-Williamson cases. E.g., Samsung Elecs. Am., Inc. v. Prisua
Eng'g Corp., 948 F.3d 1342, 1354 (Fed. Cir. 2020) (citing LG, 453 F.3d at 1372).
                                                  5
        Case 6:20-cv-00578-ADA Document 36 Filed 02/26/21 Page 11 of 12




processor 20.” ’825 patent at 5:22-23. The memory 22 is clearly described as structural because it

“may be integrated/removable.” Id. at 5:45-47. The “processor20 by reading the memory 22 is able

to load and execute the computer program 24, 26.” Id. at 5:33-34. A POSITA would reasonably

discern from the claim language that the terms are not used as black-box recitations of structure but

rather as specific references to conventional components. Accordingly, Google’s “analysis [is]

removed the terms from their context, which otherwise strongly suggests the plain and ordinary

meaning of the terms. See Zeroclick, 891 F.3d at 1008.

       Third, Google has also made no showing that compels the conclusion that the conventional
structures was used a substitute for “means.” See Zeroclick, 891 F.3d at 1009 (“The district court

thus erred by effectively treating “program” and “user interface code” as nonce words and

concluding in turn that the claims recited means-plus-function limitations.”).

       Finally, with respect to the second step of the means-plus-function inquiry, the Court need

not even go there as there is sufficient structure as noted above. In the event it does, Google ignores

the structure disclosed in the specification. The processor, as noted above, includes “output interface

via which data and/or commands are output by the processor 20 and an input interface via which

data and/or commands are input to the processor 20.” ’825 patent at 5:20-23. Hardly the “empty

rectangle” in Google’s depiction. Resp. at 8. Moreover, even if they lacked the detail Google claims,

the processor, memory, and computer program code themselves would all constitute corresponding

structure. With respect to the algorithm, the specification specifically describes an “external event,

such as an alarm, alert or other event may enable the controller 14,” and correspondingly when the

“enabled controller then enables the radio transmitter, radio receiver and gesture detector.” Id. at

8:40-43. The specification also describes various exemplary scenarios where there is a detection of

an application (e.g., an incoming telephone call, an alarm alert, or when the user activates a remote

control mode) being started and the “controller turns on the radar.” Id. at 8:51-56; 8:62-67; 9:5-11. 5

5
 Google asserts that WSOU has “waived” identifying structure and algorithm in the alternative.
Resp. at 8 (citing First-Class Monitoring LLC v. United Parcel Serv. of Am., Inc., 389 F. Supp. 3d
456, 469 (E.D. Tex. 2019). This case is inapposite and dealt with briefing in an Alice motion, not
Markman. The Robert Bosch case is also inapposite as it dealt with waiver during an appeal.
                                                  6
        Case 6:20-cv-00578-ADA Document 36 Filed 02/26/21 Page 12 of 12




Dated: February 26, 2021                    Respectfully submitted,

                                    By:     /s/ Ryan Loveless
                                            James L. Etheridge
                                            Texas Bar No. 24059147
                                            Ryan S. Loveless
                                            Texas Bar No. 24036997
                                            Brett A. Mangrum
                                            Texas Bar No. 24065671
                                            Travis L. Richins
                                            Texas Bar No. 24061296
                                            Jeffrey Huang
                                            Brian M. Koide
                                            Etheridge Law Group, PLLC
                                            2600 E. Southlake Blvd., Suite 120 / 324
                                            Southlake, TX 76092
                                            Tel.: (817) 470-7249
                                            Fax: (817) 887-5950
                                            Jim@EtheridgeLaw.com
                                            Ryan@EtheridgeLaw.com
                                            Brett@EtheridgeLaw.com
                                            Travis@EtheridgeLaw.com
                                            Jhuang@EtheridgeLaw.com
                                            Brian@EtheridgeLaw.com

                                            Mark D. Siegmund
                                            State Bar No. 24117055
                                            mark@waltfairpllc.com
                                            Law Firm of Walt, Fair PLLC.
                                            1508 North Valley Mills Drive
                                            Waco, Texas 76710
                                            Telephone: (254) 772-6400
                                            Facsimile: (254) 772-6432

                                            Counsel for Plaintiff WSOU Investments, LLC

                                CERTIFICATE OF SERVICE
       A true and correct copy of the foregoing instrument was served or delivered electronically
via U.S. District Court [LIVE]- Document Filing System, to all counsel of record, on February 26,
2021.
                                            /s/ James L. Etheridge
                                            James L. Etheridge



                                               7
